                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

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 RUTH SMITH, Individually and as Widow                          )
 for the Use and Benefit of Herself and the                     )
 Next of Kin of RICHARD SMITH, Deceased,                        )   Case #: 3:05-00444
                                                                )   Judge Trauger
                                     Plaintiff,                 )
                                                                )
                   -against-                                    )
                                                                )
 PFIZER INC., PARKE-DAVIS,                                      )
 a division of Warner-Lambert Company                           )
 and Warner-Lambert Company LLC,                                )
 WARNER-LAMBERT COMPANY,                                        )
 WARNER-LAMBERT COMPANY LLC and                                 )
 JOHN DOE(S) 1-10,                                              )
                                                                )
                   Defendants.                                  )
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                    Qualifications of Plaintiff’s Expert, Cheryl, Blume, Ph.D.

          Dr. Cheryl Blume has dedicated her professional life to the development of
 pharmaceutical projects for submission to the United States Food and Drug
 Administration on behalf of pharmaceutical companies. She is currently the President of
 a company, Pharmaceutical Development Group, in Tampa, Florida. She works with and
 employs a team of people whose responsibilities are to assist drug companies in the
 evaluation of safety and efficacy information related to their drug products. These
 evaluations are made for the purpose of submitting to the FDA various Drug Applications
 so that drugs can be approved for sale in this country.
          These evaluations and submissions of Drug Applications include the review of
 drug risks and benefits observed in patients taking the drug in question. Her work in this
 field also includes the composition, drafting, and submission of proposed labels for FDA
 approval and the composition, drafting, and submission of warnings, amendments, and
 corrections to existing labels for drugs already approved. Dr. Blume has performed this
 very type of work on more than 50 drugs.
          Before her position with Pharmaceutical Development Group in Tampa, Florida,
 Dr. Blume was the Executive Vice President/Chief Operations Officer for Somerset
 Pharmaceuticals, Inc. (1993-1998), and she was a Vice President, Technical Director, and
 Director of Pharmacology at Mylan Laboratories, Inc., (1977-1995).
          Dr. Blume was educated at West Virginia University where she received her
 Bachelor of Arts Degree in Biology, and she then went on to the West Virginia School of




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 Medicine where she obtained her Doctorate Degree in Medical Pharmacology and
 Toxicology.
         Dr. Blume’s experience with pharmacology has included research and
 development of neurotransmitter products during her time with Somerset and Mylan
 Pharmaceuticals, as well as with Drug Application submissions to the FDA during her
 work with Pharmaceutical Development Group. Dr. Blume has been awarded
 approximately 30 pharmaceutical patents, and about half deal with chemicals that impact
 neurotransmitters in the brain or are intended for use in diseases that may be impacted by
 neurotransmitters. Dr. Blume has authored or co-authored articles pertaining to issues
 such as pharmacology, pharmacokinetics, and the bioavailability of drugs.
         Dr. Blume has also participated in educational forums. Her positions have
 included Affiliate Associate professor to the Voluntary Faculty of the Molecular
 Pharmacology & Physiology Department at the University of South Florida College of
 Medicine. At the University she has also been an Affiliate Research Scientist/Associated
 Professor to the Voluntary Faculty of the Department of Pharmacology.
         Dr. Blume’s participation in organizations within the pharmaceutical industry
 have included American Association of Pharmaceutical Scientists (AAPS); the American
 Pharmacists Associations; the Academy of Pharmaceutical Sciences; the Regulatory
 Affairs Professional Society (RAPS); the International Society of Pharmacoepidemiology
 (ISPE); the Drug Information Association (DIA); and the Generic Pharmaceutical
 Association (GPhA).




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